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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )      Case No. 1:08CR00024-007
                                               )
v.                                             )             OPINION
                                               )
KERRY DONNELL LEE, JR.,                        )      By: James P. Jones
                                               )      United States District Judge
                 Defendant.                    )

       Kerry Donnell Lee, Jr., Pro Se Defendant.

       The defendant, proceeding pro se, filed a Motion to Vacate, Set Aside, or

Correct Sentence, pursuant to 28 U.S.C. § 2255. This matter is before me for

preliminary review, pursuant to Rule 4 of the Rules Governing Section 2255

Proceedings. After reviewing the record, I deny the motion as untimely filed.

                                         I.

       I entered Lee’s criminal judgment on June 8, 2009, sentencing him to 180

months incarceration after he pleaded guilty to conspiring to distribute cocaine and

cocaine base, in violation of 21 U.S.C. § 846. Lee did not appeal.

       Lee filed a document in November 2012 that the court construed as

attempting to collaterally attack his sentence. The court ultimately dismissed the

document without prejudice to filing a future § 2255 motion because Lee failed to

consent to that construction in accordance with Castro v. United States, 540 U.S.
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375, 377 (2003). Although dismissed without prejudice, Lee sought authorization

from the Court of Appeals for the Fourth Circuit in June 2014 to file a successive

§ 2255 motion, and the Court of Appeals dismissed that request on July 14, 2014,

as unnecessary.

      Lee commenced this collateral attack no earlier than August 21, 2014,

alleging that the court lacked jurisdiction, the prosecutor violated legal and

professional standards, trial counsel rendered ineffective assistance, and his

sentence was erroneously imposed. Lee cites to Alleyne v. United States, 133 S.

Ct. 2151, 2155 (2013), Whiteside v. United States, 748 F.3d 541, 543 (4th Cir.

2014), and Miller v. United States, 735 F.3d 141, 142 (4th Cir. 2013), in support of

his claims.

      The court conditionally filed the § 2255 motion, advised him that the motion

appeared untimely, and gave him the opportunity to explain why the court should

consider the motion timely filed. Lee argues that I should consider the motion to

be timely filed because he misunderstood that he did not need to receive

authorization from the court of appeals to file a § 2255 motion.

                                         II.

      Federal inmates in custody may attack the validity of their federal sentences

by filing motions, pursuant to 28 U.S.C. § 2255, within the one-year limitations

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period. This period begins to run from the latest of: (1) the date on which the

judgment of conviction becomes final; (2) the date on which the impediment to

making a motion created by governmental action in violation of the Constitution or

laws of the United States is removed, if the movant was prevented from making a

motion by such governmental action; (3) the date on which the right asserted was

initially recognized by the Supreme Court, if that right has been newly recognized

by the Supreme Court and made retroactively applicable to cases on collateral

review; or (4) the date on which the facts supporting the claim or claims presented

could have been discovered through the exercise of due diligence. 28 U.S.C.

§ 2255(f).

      Lee’s criminal judgment became final in June 2009 when the time to note an

appeal expired. See Clay v United States, 537 U.S. 522, 524 (2003) (stating a

conviction becomes final once the availability of direct review is exhausted).

Accordingly, for purposes of § 2255(f)(1), Lee had until June 2010 to timely file a

§ 2255 motion, but he did not commence this collateral attack until August 2014.

      Liberally construed, Lee argues that his motion should be considered timely

filed under § 2255(f)(3) because of Alleyne, Carachuri-Rosendo v. Holder, 560

U.S. 563 (2010), and Simmons v. United States, 561 U.S. 1001 (2010). However,

none of the authorities Lee cites qualify under § 2255(f)(3) as authorities issued by

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the Supreme Court of the United States that recognized a new right made

retroactively applicable to cases on collateral review. See, e.g., United States v.

Powell, 691 F.3d 554, 559-60 (4th Cir. 2012). Therefore, I find that § 2255(f)(1) is

the appropriate limitations period, and Lee filed the instant motion more than one

year after his conviction became final.

      Equitable tolling is available only in “those rare instances where — due to

circumstances external to the party’s own conduct — it would be unconscionable

to enforce the limitation period against the party and gross injustice would result.”

Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). Thus, a petitioner must

have “been pursuing his rights diligently, and . . . some extraordinary circumstance

stood in his way” to prevent timely filing. Holland v. Florida, 560 U.S. 631, 649

(2010) (internal quotation marks and citation omitted). I do not find that Lee

pursued his rights diligently or that an extraordinary circumstance prevented him

from filing a timely § 2255 motion. See, e.g., United States v. Sosa, 364 F.3d 507,

512 (4th Cir. 2004) (noting pro se status and ignorance of the law does not justify

equitable tolling); Turner v. Johnson, 177 F.3d 390, 392 (5th Cir. 1999) (noting

that unfamiliarity with the law due to illiteracy or pro se status does not toll the

limitations period). Furthermore, Lee’s reliance on Whiteside is misplaced because

that opinion was vacated upon en banc consideration. Whiteside v. United States,

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No. 13-7152, 2014 WL 7245453, at *7 (4th Cir. Dec. 19, 2014) (en banc)

(declining, on rehearing, to extend equitable relief to a § 2255 movant actually

innocent of the career offender sentencing enhancement that was lawfully imposed

but later invalidated by subsequent case law). Accordingly, Lee filed the § 2255

motion beyond the one-year limitations period, he is not entitled to equitable

tolling, and the § 2255 motion must be denied.

                                       III.

      For the foregoing reasons, the Motion to Vacate, Set Aside, or Correct

Sentence is denied. A separate Final Order will be entered herewith.

                                              DATED: February 2, 2015

                                              /s/ James P. Jones
                                              United States District Judge




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